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                              United States Bankruptcy Court
                                         District of Connecticut



In re:
                                                                                           Case Number: 21−20687
The Norwich Roman Catholic Diocesan Corporation                                            Chapter: 11
Debtor*


                     ORDER AND NOTICE OF HEARING ON DISCLOSURE STATEMENT
To the debtor, creditors, and other parties in interest:

A disclosure statement and plan under Chapter 11 of the Bankruptcy Code was filed by The Norwich Roman
Catholic Diocesan Corporation on February 10, 2025.
IT IS ORDERED AND NOTICE IS GIVEN THAT:
    1. A hearing to consider approval of the disclosure statement will be held at

                      450 Main Street, 7th Floor Courtroom, Room 715B, Hartford, CT 06103
                      on March 12, 2025 and March 13, 2025 starting at 11:00 AM each day.


    2. The following date is fixed for filing and serving in accordance with Federal Rules of Bankruptcy Procedure
       3017(a) written objections to disclosure statement:
                                                   Date: March 6, 2025

    3. Within 5 days after entry of this order, the disclosure statement and plan shall be distributed by the plan
       proponent in accordance with Federal Rules of Procedure 3017(a).
    4. Request copies of the disclosure statement and plan should be directed to:


                                         Name and Address of Plan Proponent
                                    The Norwich Roman Catholic Diocesan Corporation
                                                   201 Broadway
                                                 Norwich, CT 06360

                                         Name and Address of Debtor's Attorney
                                                  Patrick M. Birney
                                                Robinson & Cole LLP
                                                 280 Trumbull Street
                                              Hartford, CT 06103−3597
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  5. In lieu of mailing any proposed Plan or Disclosure Statement Exhibits, the Debtor may effectuate proper
     service by: (i) filing the Exhibits electronically on the docket, including any amendments; (ii) providing
     them via email upon request; and (iii) promptly posting them on the Debtor’s dedicated Chapter 11 website.

      Dated: February 13, 2025                                                                     BY THE COURT




United States Bankruptcy Court District of Connecticut                                 Tel. (860) 240−3675
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